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TERN ' COURT

DISTARKANSAS
IN THE DIsTRICT coURT FoR THE WEsTERN DISTRICT oF ARKANBM

FORT SMITH DIVISION Nov 23 2016
DOU
By GLAS F' YOUNG, Cferk

Depu¢y Cjerk

cAsF_: No. 1199qu

CAROL OLD l-IAM,
Plaintiff,
vs.

ANNA LAUREN WALTON and
DARLA WALTON,

Defendant.

COMPLAINT

COMES NOW the Plaintiff, Carol Oldham, by and through her attorney
undersigned, and for her cause of action against the Defendants, Anna Lauren
Walton and Darla Walton, states as follows:

I.

Plaintiff is a resident of the State of Oklahoma and County of I-Iaskell and
has been for more than six months and thirty days respectively prior to the
_ filing of this Petition.

Pla_intiff believes that Defendants, Anna Lauren Walton and Da_rla
Walton, Were residents of the State of Arkansas and County of Benton at the
time of the accident.

The automobile accident Which is the subject of this lawsuit occurred in
Sebastian County, State of Arkansas.

This court has jurisdiction of the parties and subject matter pursuant to

28 U.S.C. §1331, l332(a)[i), 1391 and the doctrine of pendent jurisdiction. The

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amount at issue in this case, exclusive of interest and costs, exceeds
$75,000.00.
II.

That on or about the 3rd day of December, 2013 Plaintiff was traveling
South on the Rogers Avenue on ramp in Ft. Smith, Arkansas. There was a yield
sign at the end of the ramp and traffic was stop and go as vehicles merged onto
1-540. Plaintiff was at the yield sign waiting for clearance to merge when
Defendant Anna Lauren Walton drove the vehicle she was driving, but which
was owned by Defendant Darla Walton, into the rear of Plaintiff’s vehicle.
Defendant Anna Lauren Walton’s actions resulted in an accident which caused
injuries to the Plaintiff’s head, neck, shoulder, elbow and back.

IH.

That Defendant Anna Lauren Walton was negligent and negligent per se
in violation of existing laws in following too closely, failing to stop for traffic,
inattentive driving, failing to keep a proper lookout and possibly other
violations to be discovered. That Defendant Darla Walton was negligent in
entrusting her vehicle to Defendant Anna Lauren Walton.

IV.

That as a direct and proximate result of the negligence of the Defendants,
and each of them, Plaintiff suffered severe and excruciating injuries both
temporarily and permanently causing her great pain and suffering That in
addition thereto, the Plaintiff was caused to incur medical expenses and will

expect to incur future medical expenses. Further, the Plaintiff has Certain

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special expenses, including mileage to and from doctors for which she should
be compensated.

WHEREFORE, premises considered, Plaintiff respectfully requests that
upon hearing this Petition the Court award Plaintiff actual damages in excess
of $75,000.00; that this Court further award Plaintiff judgment against
Defendants in an amount necessary to fully and fairly compensate Plaintiff for
her losses enumerated above; together with interest, attorney fees, costs of this
action, and for such other and further relief to which Plaintiff may be entitled.

Respectfully Submitted,

By: j vi gk Z@ ,
BILL J. NUN OBA #67 26
105 East M in Street

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ATTORNEY FOR PLAINTIFF
JURY TRIAL DEMANDED
ATTORNEYS LIEN CLAIMED

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VERIFICATION
STATE OF` OKLAHOMA ]
] SS:
COUNTY OF HASKELL )
l, Carol Oldham, of lawful age and being first duly sworn upon oath,
state as follows: that l am the Plaintiff named in the foregoing action; that I

have read the above and foregoing Complaint; that the information therein

contained is true and correct to the best of my knowledge and belief.

//>)Mr, QM¢\

\Carol Oldham, Plaintiff

SUBSCRIBED AND SWORN to before me this D? §\ day of
ovemlou/, 2016.

~-: Notary Public

 

My Corfliiiission Expires: g’ 25"' / 7
My Comrnission Number: 05 307 ?5{/

